
894 N.E.2d 501 (2007)
In the Matter of Timothy A. SHULA, Respondent.
No. 49S00-0603-DI-9O.
Supreme Court of Indiana.
August 23, 2007.

ORDER GRANTING MOTION TO EXTEND EFFECTIVE DATE OF SUSPENSION
By order dated July 26, 2007, this Court approved a conditional agreement and suspended *502 Respondent from the practice of law in this state for a period of not less than 90 days, without automatic reinstatement, beginning August 31, 2007.
Respondent filed a "Motion For Extension Of Time" on August 17, 2007, requesting an extension of the effective date of suspension to September 30, 2007, to accommodate clients in two cases that are near settlement and may be resolved by mediation.
Being duly advised, the Court GRANTS the motion and extends the effective date of Respondent's suspension to September 30, 2007.
The Court directs the Clerk to forward a copy of this Order to the parties, and to all other entities entitled to notice under Admission and Discipline Rule 23(3)(d).
All Justices concur.
